               Case 5:23-cr-00443-PRW Document 95 Filed 06/10/24 Page 1 of 1

                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA                                    )
                                                            )       NOTICE OF HEARING
          v.                                                )
                                                            )       Case No.: CR-23-443-PRW
ANDREA VICTORIA MORALES,                                    )       USM No.: 78633-510

                       Pursuant to Rule 43(a) of the Federal Rules of Criminal Procedure,
                                the defendant is required to attend this hearing


Type of Case:                      ☐ CIVIL                ☒ CRIMINAL
                     NOTICE: All attorneys and other persons entering the U.S. Courthouse
                             will be required to show valid photo identification


☒      TAKE NOTICE
      That a proceeding in this case has been scheduled for the place, date and time set forth below:
______________________________________________________________________________
Place:                              │Room No:
    William J. Holloway, Jr.        │    Courtroom No. 503
    United States Courthouse        │
    200 N.W. 4th Street             │Date and Time:
    Oklahoma City, OK 73102         │    July 24, 2024 at 10:00 a.m.
____________________________________│________________________________________
TYPE OF PROCEEDING:
                                SENTENCING

 PLEASE NOTE: If there are any letters, third-party materials or other documents that counsel wishes to
submit to the court for consideration at sentencing, counsel are to email said items to the Court’s email inbox
            wyrick-orders@okwd.uscourts.gov, as well as to Judge Wyrick’s Courtroom Deputy


☐      TAKE NOTICE
       That the proceeding in this case has been rescheduled as indicated below:

 Place:                                Date and Time Previously            Continued to (Date and Time):
                                       Scheduled:



                                                            JUDGE PATRICK R. WYRICK

6/10/2024                                                   By: s/Kathy Spaulding
DATE                                                            Deputy Clerk

AUSA (Leverett)
Dft counsel (Cannon; Stone)
USM (custody)
USPO (Sweet)
